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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                                            :
              V.                            :      CRIMINAL NUMBER 21-447-4
                                            :
                                            :
MICHAEL STEVEN PERKINS                      :


                                          ORDER


       AND NOW, this             day of                  , 2021, the Court grants Defendant’s

Motion for Modification of Conditions of Pretrial Release.   It is hereby ORDERED that the

conditions of Mr. Perkins shall be placed on Stand Alone Monitoring and is no longer placed on

Home Detention.

                                            BY THE COURT:



                                            _______________________________________
                                            THE HONORABLE CARL NICHOLS
                                            United States District Court Judge
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
               V.                             :      CRIMINAL NUMBER 21-447-4
                                              :
                                              :
MICHAEL STEVEN PERKINS                        :


                     DEFENDANT=S MOTION FOR MODIFICATION
                          OF CONDITIONS OF RELEASE

       Michael Steven Perkins, by and through his attorney, Nancy MacEoin, Assistant Federal

Defender, Federal Community Defender Office for the Eastern District of Pennsylvania,

respectfully requests Mr. Perkins be removed from home detention and placed on stand-alone

electronic monitoring.    As grounds, counsel avers as follows:

       1.      On June 25, 2021, Magistrate Judge G. Michael Harvey signed a Criminal

Complaint and Arrest Warrant for Mr. Perkins alleged criminal conduct on January 6, 2021 on

the grounds of the United States Capitol Building.   Law enforcement agents arrested Mr.

Perkins at his home in Plant City, Florida on June 30, 2021 pursuant to this warrant.

       2.      On July 1, 2021, a grand jury returned an indictment charging Mr. Perkins with

assaulting, resisting, or impeding certain officers using a dangerous weapon in violation of 18

U.S.C. §§ 111(a)(1) and (b), entering or remaining in a restricted building or grounds in violation

of 18 U.S.C. § 1752(a)(1), disorderly and disruptive conduct in a restricted building or grounds

in violation of 18 U.S.C. § 1752(a)(2), engaging in physical violence in a restricted building or

grounds in violation of 18 U.S.C. § 1752(a)(4), and act of physical violence in the Capitol

grounds or buildings in violation of 40 U.S.C. § 5104(e)(2)(F). Mr. Perkins is one of five
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individuals charged in this indictment.1

       3.      The government moved to detain Mr. Perkins pretrial.      Docket Entry No. 10.

The Honorable G. Michael Harvey heard oral argument on the government’s motion on July 8,

2021. On July 13, 2021, Judge Harvey issued an Order releasing Mr. Perkins from custody

forthwith and an Order Setting Conditions of Release. Docket Entry No. 27 and 29. One

condition of Mr. Perkin’s release was that he is to remain on home detention with location

monitoring via GPS. Docket Entry No. 29, ¶¶ (7)(p)(ii) and (7)(q)(iv).      Mr. Perkins resides at

his family home in Plant City, Florida.

       4.      On September 7, 2021, defense counsel spoke to the pretrial services officer who

is supervising Mr. Perkins. That officer explained that Mr. Perkins has been in full compliance

with all terms of his supervision since he was released on July 13, 2021.   Mr. Perkins is

employed as a handyman and works in various locations each day.        He has fully complied with

notifying the pretrial services of each location his employment takes him, which are all within

the Middle District of Florida.

       5.      The pretrial services officer also explained that there have been some issues with

the GPS monitoring equipment.      Specifically, due to equipment error, Mr. Perkins GPS

sometimes alerts that he is outside of his home during hours he is actually physically in the

home. The monitoring center then alerts pretrial services, who then confirms that Mr. Perkins

is in fact at his home, in full compliance with home detention.   The pretrial officer explained

that this has to do with “drifting” issues with the sensors. The pretrial services officer has




1
 As of September 9, 2021, the lead defendant, Jonathan Daniel Pollock, has not been
apprehended.
                                               2
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adjusted the “float” and “drift” points of the sensors, but the problem has persisted.   These false

alerts continue to occur and often happen in the middle of the night.   These false alerts are

inconvenient and unnecessarily draw resources from pretrial services.

       6.        Mr. Perkins respectfully requests the Order Setting Conditions of Release be

modified, removing the requirement of Home Detention, and placing him on Stand Alone

Monitoring. As indicated in ¶ (7)(q)(iv), Stand Alone Monitoring will be used in conduction

with the GPS monitor. The difference is that he will not have a curfew, be on home detention,

or home incarceration restrictions.2   This will prevent the false alarm issues home confinement

has presented.

       7. Assistant United States Attorney Benet Kearney has informed defense counsel that

the government opposes this Motion to Modify Conditions of Release.

       WHEREFORE, Mr. Perkins respectfully requests the Court remove the Home

Confinement condition of his release and instead place him on Stand Alone Monitoring. Mr.

Perkins has proven he can be safely and successfully supervised in the Middle District of Florida

as he has been in full compliance with all conditions since his release on July 13, 2021.

Furthermore, placing him on Stand Alone Monitoring will prevent false alarms and ultimately

save resources of the pretrial services office.

                                                      Respectfully submitted,



                                                      /s/ Nancy MacEoin
                                                      NANCY MacEOIN
                                                      Assistant Federal Defender


2
 The three other defendants charged in the same indictment are all under Stand Alone
Monitoring.
                                              3
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                                CERTIFICATE OF SERVICE


        I, Nancy MacEoin, Assistant Federal Defender, Federal Community Defender Office for

the Eastern District of Pennsylvania, hereby certify that I filed the attached Defendant’s Motion

for Modification of Conditions of Release via the Court’s Electronic Filing (ECF) system which

sent notification to Benet Kearney, Assistant United States Attorney, One Saint Andrew’s Place,

New York, New York 10007, via her email address Benet.Kearney@usdoj.gov.




                                                     /s/ Nancy MacEoin
                                                     NANCY MacEOIN
                                                     Assistant Federal Defender


DATE:          September 13, 2021




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